   Case 1:16-cr-00048-JRH-BKE Document 151 Filed 07/26/19 Page 1 of 4



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION


UNITED STATES OF AMERICA


      V                                          CR 116-048


ROBBIE LEE MOUZON




                                  ORDER




      On April 26, 2017, a jury convicted Defendant Robbie Lee

Mouzon of one count of conspiracy to commit robbery of a commercial

business; one count of conspiracy to use and carry a firearm during

crimes of violence; two counts of robbery of a commercial business;

two counts of carrying, using, and brandishing a firearm during a

crime of violence; and one count of possession of a firearm by a

convicted felon.      He was sentenced to a total temn of imprisonment

of 500 months.     The Eleventh Circuit affirmed his convictions and


sentence on August 29, 2018.

      On July 22, 2019, Defendant filed a motion to appoint counsel

(doc. 149) to help him seek relief pursuant to a new rule of

constitutional law announced in United States v. Davis,                    U.S.

   , 139 S. Ct. 2319 (Jun. 24, 2019).          Specifically, in Davis, the

United States Supreme Court found that the "residual clause" of 18

U.S.C. § 924(c) is unconstitutionally vague.^


^ Section 924(c) imposes a mandatory sentence for a defendant who uses or carries
a firearm "during and in relation to any crime of violence."        A "crime of
violence" under that section is defined as follows:
   Case 1:16-cr-00048-JRH-BKE Document 151 Filed 07/26/19 Page 2 of 4



     The Clerk of Court also received a letter penned by Defendant

to the United States Magistrate Judge, in which he complains about

an alleged illegal search and ineffective assistance of counsel.

He asks that the Court appoint counsel to litigate these "2255

issues."   (Doc. 150, at 2.)

     In order to attack the legality of his sentence, which is

what Defendant is trying to do. Defendant must petition for habeas

corpus relief under 28 U.S.C. § 2255 by filing a motion to vacate,

set aside or correct his sentence.           The recently filed pleadings

do not qualify as a § 2255 petition.          Moreover, the United States

Supreme Court has cautioned that the district court may not simply

recharacterize a pro se pleading as a § 2255 motion without prior

notice to the litigant and an opportunity for that litigant to

either withdraw the motion or amend it so that it contains all of


the § 2255 claims the litigant believes he has.               See Castro v.

United States, 540 U.S. 375 (2003).




     For purposes of this subsection the term "crime of violence" means
     an offense that is a felony and

     (A) has as an element the use, attempted use, or threatened use of
     physical force against the person or property of another [the
     "force" clause], or

     (B) that by its nature, involves a substantial risk that physical
     force against the person or property of another may be used in the
     course of committing the offense [the "residual" clause].

18 U.S.C. § 924(c)(3).   The Davis Court invalidated only the residual clause
   Case 1:16-cr-00048-JRH-BKE Document 151 Filed 07/26/19 Page 3 of 4



      upon consideration of Defendant's piecemeal filings and the

procedural posture of this case, the Court will not recharacterize

his pleadings as a § 2255 motion.              Rather, the CLERK is DIRECTED

to attach a copy of the standard form for § 2255 motions to

Defendant's service copy of this Order so that he may properly

file a § 2255 petition.        Defendant is forewarned that he must set

forth all his § 2255 claims on the attached form, including his

Davis claim.      Defendant is also forewarned that his § 2255 claims

may be subject to the one-year statute of limitations of the

Antiterrorism and Effective Death Penalty Act              C^AEDPA"), see 28

U.S.C. § 2255(f), and all other applicable standards governing §

2255 actions.


      With respect to Defendant's requests for the appointment of

counsel, a habeas petitioner has no absolute constitutional right

to appointed counsel.         Henderson v. Campbell, 353 F.3d 880, 892

(11th Cir. 2003) (held in the context of a habeas proceeding under

28 U.S.C. § 2254).         Rather, a court may appoint counsel only if

the   interests    of     justice   so   require.     28   U.S.C.     §   2255(g)

(incorporating      by    reference      the   standards   of    18   U.S.C.   §

3006A(a)(2)(B) for the appointment of counsel); see McCall v. Cook,

495 F. App'x 29, 31 (11th Cir. 2012) (stating that civil litigants,

even prisoners, have no constitutional right to counsel; rather,

appointment of counsel in civil cases is ''a privilege that is

justified   only     by    exceptional     circumstances"       (quoted   source
   Case 1:16-cr-00048-JRH-BKE Document 151 Filed 07/26/19 Page 4 of 4



omitted)).    Here, Defendant has not shown that the interests of

justice demand the appointment of an attorney.        Accordingly, he is

not entitled to the appointment of counsel.

     Upon the foregoing. Defendant's recently filed motions (docs.

149 & 150) are DENIED IN PART and DENIED IN PART WITHOUT PREJUDICE.

To the extent the motions request the appointment of counsel, they

are denied.   To the extent the motions set forth claims challenging

the legality of his convictions, the motions are denied without

prejudice.

     ORDER ENTERED at Augusta, Georgia, this                day of July,

2019.




                                        J. RAl^Al^/iALL,/CHIEF JUDGE
                                        UNITEDfeTATES DISTRICT COURT
                                        SOUTH0RN DISTRICT OF GEORGIA
